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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov
In re:
    PACIFICO SUR GROUP, LLC,                        Case No. 19-22057-RAM
                                                    Chapter 7 (Involuntary)
           Alleged Debtor.
    _________________________/

In re:
    CHILEAN FISHERIES GROUP, LLC,                   Case No. 19-22058-RAM
                                                    Chapter 7 (Involuntary)
           Alleged Debtor.
    ________________________________/

                   TRUSTEE’S NOTICE OF RULE 2004 EXAMINATION
                        OF TRUNORTH WORLD CARGO LLC

(Pursuant to Order on Marcia T. Dunn, Interim Chapter 7 Trustee’s Emergency Motion (1) For
Preliminary Injunctive Relief And Temporary Restraining Order To Freeze Bank Accounts And
Assets Of Affiliate Entities, And (2) To Shorten Time To Respond To Discovery And Sit For Rule
                    2004 Oral Examinations [PSG1 D.E. #108; CFG D.E. #92])

         MARCIA T. DUNN, as Interim Chapter 7 Trustee (the “Trustee”) of the above-captioned

bankruptcy estates, by and through her undersigned counsel, pursuant to Fed.R.Bankr.P. 2004,

Local Rule 2004-1 and the Order on Marcia T. Dunn, Interim Chapter 7 Trustee’s Emergency

Motion (1) For Preliminary Injunctive Relief And Temporary Restraining Order To Freeze Bank

Accounts And Assets Of Affiliate Entities, And (2) To Shorten Time To Respond To Discovery And Sit

For Rule 2004 Oral Examinations [PSG D.E. #108; CFG D.E. #92] (“Order to Shorten Time”) will

examine Trunorth World Cargo LLC, a New York LLC (also referred to as the “Examinee”),

under oath, on February 26, 2020, at 9:00 A.M. (EST), at Nelson Mullins Riley & Scarborough

LLP, 2 South Biscayne Boulevard, 21st Floor, Miami, FL 33131.


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 References to docket entries in the PSG and CFG bankruptcies will be labeled “PSG D.E. #XX” and
“CFG D.E. #XX” respectively.
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        The examination is being conducted pursuant to Fed.R.Bankr.P. 2004, Local Rule 2004-1,

and the Order to Shorten Time. The scope of the examination shall be as described in Fed.R.Bankr.P.

2004. Pursuant to Local Rule 2004-1, no order or subpoena shall be necessary, and to the extent that

a request for production of documents under this rule may be construed as a request under

Bankruptcy Rule 7034, the time to respond is shortened to fourteen (14) days.

        Interested parties are directed to contact undersigned counsel the day prior to the scheduled

examination to confirm that the examination is going forward on the following day, and to make

arrangements to appear telephonically.

                                 CERTIFICATE OF SERVICE

        I CERTIFY that a true and correct copy of the foregoing was served by U.S. mail on this

13th day of February, 2020, upon the Debtor:

 Trunorth World Cargo LLC, a New York LLC
 c/o Corporation Service Company
 Registered Agent
 80 State Street
 Albany, New York, 12207-2543

        I CERTIFY that a true and correct copy of the foregoing was served via Notice of

Electronic Filing (CM/ECF) on this 13th day of February, 2020, upon all registered users in this

case.

                                              DUNN LAW, P.A.
                                              Counsel for Marcia T. Dunn, Trustee
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                                              Suite 400
                                              Miami, Florida 33130
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                                              barry.turner@dunnlawpa.com

                                              By:       /s/ Barry S. Turner
                                                        Barry S. Turner, Esq.
                                                        Florida Bar No. 85535


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